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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS

United States of America                         )
               Plaintiffs                        )                Case No: 13 CR 772-3
                                                 )
                v.                               )
                                                 )                Judge: Elaine E. Bucklo
Julian Martin                                    )
                Defendant                        )
                                                 )

                                                 ORDER


Defendant Julian Martin's has filed objections to Magistrate Judge Cole's Report and Recommendation
that his motion to suppress wiretap and derivative evidence. Mr. Martin's objections do not meet the
requirements of Fed. R. Civ. P. 72(b)(2) that objections be specific. He argues generally that the wiretap
did not meet the necessity requirement of 18 U.S.C. sec. 2518(1)(c). But as Judge Cole thoroughly
articulated in his Report and Recommendation that a similar motion as to defendant Hoskins be denied,
which Report and Recommendation is incorporated by reference in Judge Cole's Report and
Recommendation as to Mr. Martin, and articulated further in the Report and Recommendation as to Mr.
Martin, the government more than met this requirement. In addition, Mr. Martin refers to two alleged
material omissions from the government's affidavit in support of its application. The fact that one
narcotics supplier is not mentioned by CWI is not material. The Report also thoroughly discussed the
possibility of release of CWI from jail and explained why this would not have influenced the necessity of
obtaining a wiretap. Having considered de novo, each of Mr. Martin's objections, I reject the objections. I
adopt the careful Report of Judge Cole. Mr. Martin's motion to suppress wiretap and derivative evidence
(587) is denied.



(T:.)




Date: Oct. 22, 2014                                       /s/ Hon. Elaine E. Bucklo
